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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     *
                                              *
        v.                                    *    CRIMINAL NO. 23-cr-257 (TSC)
                                              *
 DONALD J. TRUMP,                             *
                                              *
               Defendant.                     *
                                              *

                                   PROPOSED ORDER

       The Court has received and reviewed the Government’s Consent Motion to Appoint a

Classified Information Security Officer (“CISO”). For the reasons stated therein, and for good

cause, the motion is GRANTED. The Court shall issue a separate sealed order designating the

CISO and any alternate CISOs.



       SO ORDERED this _______ day of August 2023.


                                           ____________________________________
                                           TANYA S. CHUTKAN
                                           UNITED STATES DISTRICT JUDGE
